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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                                Criminal No. 13-273 (SRN/JJK)

                            Plaintiff,

v.                                                                               ORDER

(8) Elias Karkalas,

                       Defendant.


Linda I. Marks, Esq., and Roger J. Gural, Esq., United States Department of Justice, for
the plaintiff, United States of America; and

Daniel L. Gerdts, Esq., and John C. Brink, Esq., for defendant Elias Karkalas.


          The above matter comes before the Court upon the Report and Recommendation

of United States Magistrate Judge Becky R. Thorson dated February 1, 2016. No

objections have been filed to that Report and Recommendation in the time period

permitted.

         Based upon the Report and Recommendation of the Magistrate Judge, upon all of

the files, records, and proceedings herein, the Court now makes and enters the following

Order.

         IT IS HEREBY ORDERED that:

         Defendant (8) Elias Karkalas’s Motion to Suppress All Evidence Obtained from

Unlawful Searches and Seizures [Doc. No. 350] is DENIED.
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Dated: May 3, 2016



                                  s/Susan Richard Nelson
                                  SUSAN RICHARD NELSON
                                  United States District Court Judge




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